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                                                                              FftJID
                                                                                       COURT
                      IN THE UNITED STATES DISTRICT COURT FOR                          WV,
                         THE SOUTHERN DISTRICT OF GEORGIA
                                 SAVANNAH DIVISION                    ZOU9 MAY -6 PM 2:52

       UNITED STATES OF AMERICA                                      TLE?.
                                                                          SO. Ulsi. OF GA.
       V.

       PERCELL ETjLISON, JR., a/k/a              CASE NO. CR408-315
       Junior,

            Defendant.


                                       ORDER

            Before the Court is Defendant Purcell Ellison's Motion for

      Bond. (Doc. 539.) After careful consideration, Defendant's
      Motion for Bond is DENIED.

SO   ORDERED        this          '4' day of May, 2009.




                                    WILLIAM    MOORE,JR.,HIEF'JUDGE
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
